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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              CRIMINAL NO. 4:16-CR-408

EDDIE DOUGLAS AUSTIN, JR.

                             SENTENCE DATA SHEET

CITIZENSHIP         United States

GUILTY PLEA         Count One of the Information—conspiracy to commit wire fraud, 18
                    U.S.C. § 371

SUBSTANCE OF        Defendant pleads guilty to Count One of the Information.
PLEA
AGREEMENT           Defendant agrees to fully cooperate with the United States, the SEC,
                    and any other law enforcement agency designated by the United States.

                    Defendant waives his right to appeal or to collaterally attack his
                    conviction or sentence.

                    If defendant clearly demonstrates acceptance of responsibility, the
                    United States agrees to not oppose a 3 level reduction for acceptance of
                    responsibility. U.S.S.G. § 3E1.1.

                    The United States will dismiss the remaining counts of the Indictment
                    at the time of sentencing.

                    Defendant agrees to pay full restitution.

                    Defendant agrees to forfeiture in the amount of $3.4 Million, and the
                    imposition of a personal money judgment in that amount.

ELEMENTS            CONSPIRACY TO COMMIT WIRE FRAUD (18 U.S.C. § 371)

                    1.    The defendant and at least one other person made an agreement
                          to commit the crime of wire fraud;

                    2.    The defendant knew the unlawful purpose of the agreement and
                          joined in it willfully, that is, with the intent to further the
                          unlawful purpose; and
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                 3.     That one of the conspirators during the existence of the
                        conspiracy knowingly committed at least one of the overt acts
                        described in the indictment, in order to accomplish some object
                        or purpose of the conspiracy.

                 WIRE FRAUD (18 U.S.C. § 1343)

                 1.     That the defendant knowingly devised or intended to devise any
                        scheme to defraud;

                 2.     That the scheme to defraud employed false material
                        representations, pretenses, or promises;

                 3.     That the defendant transmitted or caused to be transmitted by
                        way of wire communications, in interstate or foreign commerce,
                        any writing for the purpose of executing such scheme; and

                 4.     That the defendant acted with a specific intent to defraud

PENALTY          Up to 5 years imprisonment; up to $250,000 fine; and up to 3 years of
                 supervised release.

ALTERNATIVE      Not more than the greater of twice the gross gain or twice the gross
FINE BASED ON    loss;
GAIN OR LOSS


SUPERVISED       Maximum three years supervised release (18 U.S.C. §§ 3559 and
RELEASE          3583); if the defendant violates the conditions of release, then the
                 defendant may be imprisoned for up to two years without credit for
                 time already served on the term of supervised release, 18 U.S.C.
                 3583(e)(3)

SPECIAL          $100
ASSESSMENT


                                          Respectfully submitted,

                                          Ryan K. Patrick
                                          United States Attorney

                                          /s/ Justin R. Martin____________
                                          Justin R. Martin
                                          Michael Chu
                                          Assistant United States Attorney
